                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                             No. 23-CR-10 CJW-MAR
 vs.                              ORDER REGARDING MAGISTRATE
                                        JUDGE’S REPORT AND
 JUSTIN EUGENE DOWIE,
                                         RECOMMENDATION
           Defendant.               CONCERNING DEFENDANT’S
                                           GUILTY PLEA
                      ____________________

                     I.       INTRODUCTION AND BACKGROUND
       On June 7, 2023, a five-count Superseding Indictment was filed against defendant.
On July 19, 2023, defendant appeared before United States Magistrate Judge Mark A.
Roberts and entered a plea of guilty to counts one and two of the Superseding Indictment.
On July 20, 2023, Judge Roberts filed a Report and Recommendation in which he
recommended that defendant’s guilty plea be accepted. On July 20, 2023, defendant
filed a waiver of objections to Report and Recommendation. The Court, therefore,
undertakes the necessary review of Judge Roberts’ recommendation to accept defendant’s
plea in this case.
                                    II.     ANALYSIS
       Pursuant to statute, this Court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.




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28 U.S.C. § 636(b)(1)(C). Where parties make no objections to a magistrate’s report
and recommendation, the Court reviews the magistrate’s report and recommendation
for clear error. 28 U.S.C. § 636(b)(1)(A). Similarly, Federal Rule of Criminal
Procedure 59(b) provides for review of a magistrate judge’s report and recommendation
on dispositive motions, where objections are made, as follows:
             The district judge must consider de novo any objection to the
             magistrate judge’s recommendation. The district judge may
             accept, reject, or modify the recommendation, receive further
             evidence, or resubmit the matter to the magistrate judge with
             instructions.

FED. R. CRIM. P. 59(b)(3).1
      In this case, defendant filed a waiver of objections to report and recommendation,
and it appears to the Court upon review that Judge Roberts’ findings and conclusions are
not clearly erroneous. Therefore, the Court ACCEPTS Judge Roberts’ Report and
Recommendation of July 20, 2023, and ACCEPTS defendant’s plea of guilty in this case
to counts one and two of the Superseding Indictment.
      IT IS SO ORDERED this 20th day of July, 2023.


                                          ____________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




1
  United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



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